                  Case: 1:16-cr-00124-JG Doc #: 96 Filed: 02/22/18 1 of 1. PageID #: 1000

                                                       United States District Court
                                                        Northern District of Ohio

                                           Non-Appeal Transcript Order
 To Be Completed by Ordering Party

 Court Reporter                      Donnalee Cotone                    Judicial Officer                  James Gwin
 Requested by:              Om Kakani                                                      Phone          216-622-3756

 Case Name           U.S. v. Sirous Asgari

 Case Number                 1:16CR124                 Date(s) of Proceedings              02/20/2018

 Today's Date        02/22/2018                         Requested Completion Date       Copy

 Financial Arrangements must Be Made with the Court Reporter Before Transcript Is Prepared. If the
 Method of Payment Is Authorized under CJA, Submit the AUTH-24 in the CJA eVoucher System
 Email Address               Om.Kakani@usdoj.gov                       s/ Om Kakani
                                                                                            Signature of Ordering Party

                                                       Maximum Rate Per Page

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 Transcript Type                                                                      Original
                                                                                                         each party         Copy

 Ordinary: A transcript to be delivered within thirty (30) days after                         $3.65               $0.90          $0.60
 receipt of order.

 14-Day Transcript: A transcript to be delivered within fourteen (14)                         $4.25               $0.90          $0.60
 calendar days after receipt of an order.

 Expedited: A transcript to be delivered within seven (7) days after                          $4.85               $0.90          $0.60
 receipt of order.

 Daily: A transcript to be delivered following adjournment and prior to
 the normal opening hour of the court on the following morning whether or                     $6.05               $.0          $0.0
 not it actually is a court day.

 Hourly: A transcript of proceedings ordered under unusual                                    $7.25               $1.20          $0.90
 circumstances to be delivered within two (2) hours.

 Realtime Unedited Transcript: a draft transcript produced by a                              $3.05
 Certified Realtime Reporter (CRR) as a byproduct of realtime to be
 delivered electronically during the proceedings or immediately following      2QHIHHG
 adjournment.                                                                   SHUSDJHWZRWR
                                                                                IRXUIHHGV
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                                                                                PRUHIHHGV
                                                                                SHUSDJH


Local Civil Rule 80.1&ULPLQDO5XOH of the Northern District of Ohio requires transcript requests to be addressed to the court
reporter who took theproceeding and filed with the Clerk of Court. Please electronically file the form and the appropriate court
reporter and court staff willreceive notification of the filing.
